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bkfdsadsasdf




     Fill in this information to identify the case:

        Debtor 1        Candido J Perez aka Candido Perez aka Candido Jose Perez aka
                        Candido Jose Perez Martinez aka Candido Perez Martinez aka Candido
                        J Perez Martinez

        Debtor 2        Haydee D Perez aka Haydee Perez aka Haydee D Moran aka Haydee
                        De Los Angeles Perez aka Haydee De Los Angeles Martinez De Perez
                        aka Haydee Martinez De Perez aka Haydee De Los Angeles Moran aka
                        Haydee Moran aka Haydee D Martinez De Perez

       United States Bankruptcy Court for the: Southern District of Florida

       Case number :          19-22933-RAM


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                               12/16

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


   Name of                    THE BANK OF NEW YORK MELLON FKA THE BANK OF Court claim no.                                                     19
   creditor:                  NEW     YORK,   AS     TRUSTEE      FOR THE (if known):
                              CERTIFICATEHOLDERS OF THE CWABS INC., ASSET-
                              BACKED CERTIFICATES, SERIES 2006-16
   Last 4 digits of any number
   you use to identify the debtor's                                           8530
   account:
   Does this notice supplement a prior notice of postpetition fees,
   expenses, and charges?
               [X]   No
               [ ]   Yes. Date of the last notice.


  Part 1:            Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor's mortgage
 account after the petition was filed. Do not include any escrow account
 disbursements or any amounts previously itemized in a notice filed in this
 case. If the court has previously approved an amount, indicate that
 approval in parentheses after the date the amount was incurred.

           Description                                                                           Dates incurred                  Amount

         Late Charges                                                                                                           $0.00
         Non-sufficient funds (NSF) fees                                                                                        $0.00
         Attorney Fees                                                                                                          $0.00
         Filing fees and court costs                                                                                            $0.00
         Bankruptcy/Proof of claim fees                          Proof of Claim                  12/06/2019                     $875.00
         Appraisal/Broker`s price opinion fees                                                                                  $0.00
         Property Inspection Fees                                                                                               $0.00
         Tax Advances (Non-Escrow)                                                                                              $0.00
         Insurance Advances (Non-Escrow)                                                                                        $0.00
         Property preservation expenses. Specify:                                                                               $0.00
         Other. Specify: Plan Review Fees                        Review of Plan                  10/28/2019                     $325.00
         Other. Specify: 410A Fee                                                                                               $0.00
         Other. Specify: Objection to Confirmation                                                                              $0.00
         Other. Specify:                                                                                                        $0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.


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See 11 U.S.C. § 1332(b)(5) and Bankruptcy Rule 3002.1.




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Debtor 1 Candido J Perez aka Candido Perez aka Candido Jose                      Case Number: 19-22933-RAM
Perez aka Candido Jose Perez Martinez aka Candido Perez Martinez
aka Candido J Perez Martinez ________
                First Name              Middle Name          Last Name




Part 2:          Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ]      I am the creditor.

[X]      I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


                /s/ Julian Cotton                                                         Date         4/24/2020
    Signature



Print:                       Julian Cotton                                     Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                  Email             PLGinquiries@padgettlawgroup.com




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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties on

the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________
                                                                                               24th day of

April, 2020.



                                                     /S/ Julian Cotton

                                                     ___________________________________
                                                     JULIAN COTTON
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     PLGinquiries@padgettlawgroup.com
                                                     Authorized Agent for Creditor




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                                 SERVICE LIST (CASE NO. 19-22933-RAM)

Debtor
Candido J Perez
3720 NW 166th Street
Opa Locka, FL 33054-6320

Co-Debtor
Haydee D Perez
3720 NW 166th Street
Opa Locka, FL 33054-6320

Attorney
Robert Sanchez, Esq
355 W 49 St.
Hialeah, FL 33012

Trustee
Nancy K. Neidich
POB 279806
Miramar, FL 33027

US Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130




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